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EXHIBIT Z-21
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 2 of 63

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Bachelor of Scietuce
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Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 3 of 63

Gonmnity College of the Air Foye,

by vilue ofilke authority vested by leu
antdonlhe recommendation of he College dees harcly confovon

€lston L. Stephenson

thodegrecof
Assoctate in Applied Science

Communications @perations Technology
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Suen thes 19lle dap pt Gebuay 19486
Srruttness whereof tle Stall tte Collepe and our signatures areherelo officed

ire f itu —

Community College of the Alr Force Board of Visitors

Colonel. U.S. Air Force Chief Academic Officer
Heny, Communlty College of the Air Force Community College of the Alr Force
Case 3:19-cv-08268-DLR Document 37-4 Filed'06/17/20 Page 4 of 63

bsi.

Certificate

This document certifies that:
Elston Stephenson

Has successfully completed:

ISO 45001 Lead Auditor (TPECS)

And is deemed competent for:

OH.- OH&S Management Systems (ISO 45001)
Passed Date: 11/20/2018

AU - Management Systems Auditing (ISO 19011:2018)
Passed Date: 11/20/2018

TL - Leading Management Systems Audit Teams (ISO 19011:2018)
Passed Date: 11/20/2018

BSI is an Exemplar Global certified training provider for the modules listed above.

FSC

For and on behalf of BSI:
ae Blake, Vice President, F President, Regulatory Affairs, BS] Group America Inc.
Course Date: 11/12/2018 - 11/15/2018 Certificate Number: 8926103-151006
Issue Date: 12/28/2018 CEUs Awarded: 3.2
Exemplar
yY Global
making excellence a habit
This certificate remains the property of BS! and is bound by lhe conditions of contract

The British Slandards Institution is incorporaled by Royal Charter
BSI Group America Inc , 12950 Worldgale Drive, Suite BOO. Herndon VA 20170, USA
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 5 of 63

bsi.

Certificate

This document certifies that:
Elston Stephenson

Has successfully completed:

OHSAS 18001:2007 Lead Auditor (TPECS)

And is deemed competent for:

OH - Occupational Health and Safety Management Systems v1.3
Passed Date: 4/28/2016

AU - Management Systems Auditing v2.0
Passed Date: 4/28/2016

TL - Leading Management Systems Audit Teams v2.0
Passed Date: 4/28/2016

BSI is an Exemplar Global certified training provider for the modules listed above.

a F Ter A ad
——— . — a
For and on behalf of BSI: ee aS OO ee oe

Reg Blake, Vice President, Regulatory Affairs, BSI Group America Inc.
Course Date: 4/25/2016 - 4/28/2016 Certificate Number: 8437480-151006

Issue Date: 9/21/2016 CEUs Awarded: 3.2

© Gia

making excellence a habit

This certificate remaina the praperty of BSI and is bound by tha conditions of contract

Tha British Standards Institution is incorporated by Royal Charter
BSI Group Amarica Inc . 12950 Worldgate Dave Suite 800 Herndon, VA 20170, USA
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 6 of 63

Certificate of Completion

Be it known that in recognition of successful
completion of all requirements pertaining to the

Aviation Safety Officer Course
this certificate is awarded to

Mr.
Elston “Swede” Stephenson

Dated this 27th day of September, 2019
at Naval Air Station Pensacola, Florida.

LA- rebate

CAPT, U.S. NAVY
Director, SAS

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 7 of 63

DEPARTMENT OF THE NAVY
OFFICER IN CHARGE
NAVY SAFETY CENTER DETACHMENT NAVAL SCHOOL OF AVIATION SAFETY
181 CHAMBERS AVE SUITE A
PENSACOLA, FLORIDA 32508-6271

1520

Ser N80/613
27 Sep 19

From: Director. Naval School of Aviation Safety
To: Mr. Elston “Swede” Stephenson

Subj: COMPLETION OF AVIATION SAFETY OFFICER COURSE 19-7

Ref: (a) OPNAVINST 3750.68
(b) OPNAVINST 3500.39C

Encl: (1) Certificate of Completion

1. In accordance with reference (a). this is to certify you have successfully completed all
requirements pertaining to the Aviation Safety Officer course at the Naval Safety Center
detachment Naval School of Aviation Safety. NAS Pensacola, Florida. Enclosure (1) is awarded
as recognition of your successful completion. Congratulations!

2. In accordance with reference (b), you have met the United States Navy requirements to be
qualified and designated as an Operational Risk Management (ORM) Assistant.

3. The twenty-three day Aviation Safety Officer course consists of 180 academic hours devoted
to a curriculum designed for the prevention of loss of assets. both human and material. The
specific allocation of hours by subject is as follows: Aerodynamics, 20 hours: Structures, 13
hours; Safety Programs. 24 hours: Reporting Investigations. 60 hours: Human Factors, 16 hours:
Aeromedical Support. 9 hours; Laboratory. 29 hours; Director/Guest Speakers. 5 hours and
Administrative, 2? hours.

. DB. BOONE
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 8 of 63

National Transportation Safety Board

Certificate of Training
Awarded to

Elston L Stephenson

for the successful completion of

Accident Site Photography

11/6/2018-1 1/8/2018
1.80 CEU

Last Sn

Dennis L. Robert L. Sumwalt Til
Managing Director Chairman

NTSB Training Center, Ashbum, Virginia
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 9 of 63

National Transportation Safety Board

Certificate of Training
Awarded to

Elston LeMans Stephenson

for the successful completion of

Helicopter Accident Investigation

June 25 - 29, 2018
Dennis L.Jones | Robert L. Sumwalt IIT
Managing Director Chairman

NTSB Training Center, Ashbum, Virginia
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 10 of 63

UNIVERSITY OF CALIFORNIA, SAN DIEGO
UCSD EXTENSION

- Occupational Safety and Health Department
A Division of UCSD Extended Studies And Public Programming —

ELSTON STEPHENSON

106037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
_ TRAINER COURSE - RIGGING SAFETY

JUNE 20-23, 2016

DATE

Director

University or Cauifornia, San Dieco
Division of Extenceo Stupies ano Puetic Procrams
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 11 of 63

University of California, San Diego
OSHA Training Institute Education Center

ELSTON STEPHENSON

06037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN

OSHA 7500 - INTRODUCTION TO SAFETY AND HEALTH
MANAGEMENT

DECEMBER 4, 2017

——S eae
DATE

University of California, San Diego
An Authorized

QSHA tinceteacenee
. Education Center

Dr. Grace MILLER
Bos Murpuy Director

DIRECTORATE OF TRAINING AND EpucaTion OSHA Traine Institute Epucanon Center
OccurationaL SAFETY AND HEALTH ADMINISTRATION University oF Cauroraa, San Dieco

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 12 of 63

University of California, San Diego
OSHA Training Institute Education Center

ELSTON STEPHENSON

06037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
OSHA 7115 - LOCKOUT/TAGOUT

DECEMBER 5, 2017
DATE

—— =

University of California, San Diego

An Authorized

OSHA titcton Center
| Education Center

Bos Murrry DiRECTOR
Directorate OF TRAINING AND Enucation OSHA Tranne InstimuTe Eoucanon CENTER
Occupationat SAFETY AND HEALTH ADMINISTRATION University of Cauironma, San Dieco
Page 13 of 63

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20

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OF PHOTOGRAPHY
INTRODUCTION To DicrraL SLR PHOTOGRAPHY |

THs Is TO CERTIFY THAT

ELSTON “SWEDE” STEPHENSON |

SS te ja

At the Aeart of te isege.,

JANUARY 12, 2008
DATE
Bul Durrence Reed Hoffmann Michael A. Schwarz
“STRHCTOM OO TRO TLR Ea TUct on

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NEXT STEPS IN DIGITAL PHOTOGRAPHY

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STREAMLINED WORKFLOW TECHNIQUES
Tis 1s oO CERTIFY THAT

ELSTON “SWEDE” STEPHENSON

Has es adais COMPLETED NIKON SCHOOL Next STEPS IN FDRRAL SLR PhorOGRAPiy:
STREAMLINED WORKFLOW TECHNIQUES.

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JANUARY 19, 2008

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Nick Didlick Bill Durrence Reed Hoffmann Michael A. Schwarz

INSTAL CTOR

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 15 of 63

Defense Acquisition University

This certifies that

ELSTON STEPHENSON
has successfully completed

Fundamentals of Systems Acquisition Management
ACQ101 Section 325

Completed on Date 09/12/2010
CEUs: 2.5
CLPs: 25

LS Ass

Acting President Defense Acquisition University
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 16 of 63

Defense Acquisition University

This certifies that

ELSTON STEPHENSON
has successfully completed

Contracting for the Rest of Us
CLC011 Section 888

Completed on Date 09/42/2010
CLPs: 2

LAS MAL

Acting President Defense Acquisition University
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 17 of 63

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= 3 Organization / Rank ,
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Marine Corps Base Hawa'l » Kaneohe Bay

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 18 of 63

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I
'

is awarded to

CW4 ELSTON LEMANS STEPHENSON

for successfully completing the
Joint Services Safety and Occupational Health Course,
CP-12 10-04 (23 August - 10 December 10)
Presented this 10th day of December 2010

UNITED STATES ARMY
COMBAT READINESS/SAFETY CENTER

Michael P. Eyer

Command Sergeant Major, Army " Brigadier Comat U.S. Army
United States Combat Readinefs/Safety Center Commanding Generali
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a KD i ANAY ST RONG, TRANBALRRETHERS
==) Bs &SISTERS
ARMY STRONG.

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Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 19 of 63

i 0 f Certified S afety Profs.
BO

Ong.

Upon the recommendation of the
Board of Certified Safety Professionals,
by virtue of the authority vested in it,

has conferred on

Elston L Stephenson

the credential of

Occupational Health And Safety Technologist

and has granted the title as evidence of meeting the qualifications and passing
the required examination so long as this credential is not suspended or
revoked and is renewed annually and meets all recertification requirements,

December 8, 2010
DATE ISSUED

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 20 of 63

UNIVERSITY OF CALIFORNIA, SAN DIEGO
EXTENSION

hereby awards

Elston Stephenson

the Professional Certificate in

Occupational Safety and Health
with specializations in
General Industry
Construction Industry

a curriculum of 350 hours of study

March 6, 2014

Diebhd

MARY L. WALSHOK
5 LATE VICE CHANCELLOR
EXTENDED STUDIES AND PUBLIC PROGRAMS
AND DEAN, UC SAN DIEGO EXTENSION

CARS h-—
FLIZABETH SILVA
REGISTRAR

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 ecagr 21 of 63

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Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 22 of 63

United States Department of Labor
: Eastern Kentucky University
OSHA Training Institute Education Center

Elston Stephenson

has successfully completed the

Hh ['L
Ut ( f\ ML U LA (
| Tammy Cole

System Director
EKU Non-Credit Programs

Will Drake
EKU OSHA Administrator

240 Contact Hours - 24 CEU’s Issue Date: 12/10/2010
‘Expiration Dati: Nowe:
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 23 of 63

THE UNITED STATES ARMY
COMBAT READINESS CENTER

Certifies that
CW2 ELSTON L. STEPHENSON

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LS. ARMY COMBAT READINESS CENTER Commanding

USACRCCOS
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 24 of 63

CERTIFICATE of COMPLETION

This is to certify that:

Elston Stephenson

successfully completed
Lesson Template Title - Commanders Safety Course
Lesson TemplateId - 00006916 , 8/9/10

CS nflras 0. Ddexv0c

Stanley C. Davis
Project Director
Distributed Learning System

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CERTIFICATE of COMPLETION

This is to certify that:

Elston Stephenson

successfully completed
Lesson Template Title - The Supervisor's Safety Course Test
Lesson TemplateId - F020106TEST , 8/19/10

Chefs 0. Ddexnve

Stanley C. Davis
Project Director
Distributed Learning System

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 26 of 63

CERTIFICATE of COMPLETION

This is to certify that:

Elston Stephenson

successfully completed
Lesson Template Title - Composite Risk Management Basic Course (v3)

Lesson TemplateId - 00009819, 7/7/10

CS rwfes 0. dance

Stanley C. Davis
Project Director
Distributed Learning System

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 27 of 63

National Fire Academy

This is to acknowledge that

ELSTON LEMANS STEPHENSON

has demonstrated a commitment to reduce the Nation's loss of life and property
from fire and related emergencies by pes professional development
through completion of the National Fire Academy-Sponsored Course

Q-118 Community Safety Educator

Completed On

September 16, 2010

boul AI PE QC

F Superintendent Administrator
National Fire Academy U.S. Fire Administration
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 28 of 63

TRAMS: Certificate of Completion

JOHNS HOPKINS
BLOOMBERG SCHOOL of PUBLIC HEALTH

presents this certificate of completion to

Elston Stephenson

for completing the online training entitled

"Risk Communication"

on Friday, October I, 2010.

©" JOHNS HOPKINS sonata Like, PHD

\7) “Cente For PUBLIC HEALTH PREPAREDNESS Principal Investigator

http://distance.jhsph.edu/trams/index.cfm?event=training.certificate&hashCheck=%23%28A%5BX*0VA &bog=31514

Page 1 of 2

10/1/2010
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 29 of 63

UNITED STATES DEPARTMENT OF LABOR

- OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region IX Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON STEPHENSON

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
OSHA 500 - TRAINER COURSE - CONSTRUCTION INDUSTRY

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OSHA Taalnins iSTITUTE fA ru

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‘UNITED STATES DEPARTMENT OF LABOR

OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region IX Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON STEPHENSON

06037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
OSHA 501 - TRAINER COURSE - GENERAL INDUSTRY

TO NOVEMBER 4-7, 2013
Fe ae DATE

Romy €. Foyer.

Y irector, aa DIRECTOR, UY
OSHA TRAINING INSTITUTE

OSHA TRAINING INSTITUTE
UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
DIVISION OF EXTENDED STUDIES AND PUBLIC PROGRAMS

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 31 of 63

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SSS EE

United States Department of Labor

OSHA Training Institute
2

Eastern Kentucky University OTI Education Center

Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University
Training Hours Completed: 40

Continuing Education Units: 4.00
(One CEU equals 10 hours of Instruction)

OSHA 510 - Standards for Construction

setae

Instructor
Ll D2

OSHA Administrator, Workforce Education
Tuesday, October 12, 2010 - Saturday, October 16, 2010
Expiration Date: None

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 32 of 63

United States Denson of Labor }
OSHA Training Institute

Eastern Kentucky University OTI Education Center
Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 40

Continuing Education Units: 4.00
{One CEU equats 10 hours of Instruction)

OSHA 511 - Standards for General Industry

pops

OSHA Administrator, Workforce Education

Monday, October 04, 2010 - Friday, October 08, 2010
Expiration Date: None

Instructor

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 33 of 63

United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center

Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 40
Continuing Education Units: 4.00
(One CEU equals 10 hours of Instruction)

OSHA 521 - Industrial Hygiene

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Instructor

be “LY - AL
OSHA Administrator, Workforce Education

Monday, October 18, 2010 = Friday, October 22, 2010
Expiration Date: None

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 34 of 63

United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center
Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 20

Continuing Education Units: 2.00
(One CEU equals 10 hours of Instruction)

OSHA 2015 - Hazardous Materials

pL

Instructor

OSHA Administrator, Workforce Education

Wednesday, October 27, 2010 - Friday, October 29, 2010
Expiration Date: None

Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 35 of 63

United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center .
Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 26
Continuing Education Units: 2.60
(One CEU equals 10 hours of Instruction)

OSHA 2045 - Machinery and Machine Guarding Standards

es ge

Instructor

cas lo Vg
OSHA Administrator, Workforce Education

Tuesday, September 06, 2011 - Friday, September 09, 2011
Expiration Date None

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UNITED STATES DEPARTMENT OF LABOR

OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region 1X Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON STEPHENSON

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
OSHA 2225 - RESPIRATORY PROTECTION

MARCH 3-6, 2014

DATE
UY DIRECTOR, - . DIRECTOR,
' OSHA TRAINING INSTITUTE OSHA TRAINING INSTITUTE

UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
AIVIGCION OF FYTENNEN STiinec ann Piniir Pancoauc
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 37 of 63

United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center
Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by: .

Eastern Kentucky University

Training Hours Completed: 30
Continuing Education Units: 3.00

(One CEU equals 10 hours of Instruction)

OSHA 2250 - Principles of Ergonomics

J | eee
id
Instructor \

WY P_2
OSHA Administrator, Workforce Education

Monday, November 08,2010 - Thursday. November 1 1, 2010
Expiration Date: None

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United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center
Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 40
Continuing Education Units: 4.00
(One CEU equals 10 hours of Instruction)

OSHA 2264 - Permit Required Confined Space

* 5
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= a,

Instructor

‘ La lh aX eee
OSHA Administrator, Workforce Education
Monday, November 01,2010 - Friday, November 05, 2010
Exoiration Date: None

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UNITED STATES DEPARTMENT OF LABOR

OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region IX Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON LEMANS STEPHENSO

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
TRENCHING AND EXCAVATION (OSHA 3010)

OCTOBER 31-NOVEMBER 2, 2011
DATE

ECTOR ZA. DirREcTOR gd
OSHA TRAINING INSTITUTE UniversfTy oF CatiFornia, OSHA Trainine Institute Epucation CENTER

Division oF ExTendED STupIES AND PusLic PRoGRAMS
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 40 of 63

United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center

Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

' Training Hours Completed: 20
Continuing Education Units: 2.00

(One CEU equals 10 hours of instruction)

OSHA 3095 - Electrical Standards

phy

Lt PF

OSHA Administrator, Workforce Education

Instructor

Expiration Date: None

Monday, October 25, 2010 - Wednesday, October 27, 2010
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 41 of 63

UNITED STATES DEPARTMENT OF LABOR

OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region IX Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON STEPHENSON

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN

ELECTRICAL HIGH VOLTAGE STANDARDS -
FEDERAL (UCSD 3096)

AUGUST 26-29, 2013
DATE

Mong E Feyas Las Mae Keg

DIRECTOR, x DIRECTOR, U
OSHA TRAINING INSTITUTE OSHA TRAINING INSTITUTE

UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
DIVISION OF EXTENDED STUDIES AND PUBLIC PROGRAMS
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UNITED STATES DEPARTMENT OF LABOR

OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION

OSHA Training Institute, Region IX Education Center
A Division of UCSD Extended Studies And Public Programming

ELSTON LE MANS STEPHENSON

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
FALL PROTECTION (OSHA 3110)

SEPTEMBER 12-15, 2011
DATE

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OSHA TRAINING INSTITUTE OSHA TRAINING INSTITUTE

UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
DIVISION OF EXTENDED STUDIES AND PUBLIC PROGRAMS
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UNIVERSITY OF CALIFORNIA, SAN DIEGO
UCSD EXTENSION

OSHA TRAINING CENTER, REGION IX EDUCATION CENTER
A Division of UCSD Extended Studies and Public Programming

ELSTON STEPHENSON

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
SCAFFOLDING (UCSD 3200)

OCTOBER 24-26, 2011
- DATE

LoS. Waae Keg

ae Director
Univers#Y or CauiFornia, OSHA Trainine Institute Epucation CENTER
Division oF Extenpep Stupies ano Pustic Procrams

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OSHA Training Institute Education Center

A Division of UCSD Extended Studies And Public Programming

ELSTON STEPHENSON

1706027328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN

OSHA 5410 - OCCUPATIONAL SAFETY AND HEALTH STANDARDS
FOR THE MARITIME INDUSTRY

FEBRUARY 2-6, 2015
DATE

OSHA fa ee
Education Centers eS ise ie
DIRECTOR

University of Californ
€ re Califo ia, san eee University oF Cauirornia, OSHA Trataine InstimuTE Eoucation CENTER
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United States Department of Labor

OSHA Training Institute

Eastern Kentucky University OTI Education Center

Certificate of achievement awarded to

Elston LeMans Stephenson

In recognition of successful completion of the
following course offered by:

Eastern Kentucky University

Training Hours Completed: 10

Continuing Education Units: 1.00
(One CEU equals 10 hours of Instruction)

OSHA 7845 - Recordkeeping Rule Seminar

>
Instructor \

Wl DP
OSHA Administrator, Workforce Education
Thursday, November 11,2070 - Fnday, November 12, 2010
Expiration Date: None

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UNIVERSITY OF CALIFORNIA, SAN DIEGO

UCSD EXTENSION

OSHA TRAINING CENTER, REGION IX EDUCATION CENTER
A Division of UCSD Extended Studies and Public Programming

ELSTON LEMANS STEPHENSON

06037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
MILITARY EM385-1-1 40 HOUR SAFETY (UCSD 9300)

AUGUST 22-26, 2011
DATE

ware DIRECTOR,
OSHA TRAINING INSTITUTE

UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
DIVISION OF EXTENDED STUDIES AND PUBLIC PROGRAMS

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UNIVERSITY OF CALIFORNIA, SAN DIEGO

UCSD EXTENSION

OSHA TRAINING CENTER, REGION IX EDUCATION CENTER
A Division of UCSD Extended Studies and Public Programming

ELSTON LEMANS STEPHENSON

06037328

HAS DILIGENTLY AND WITH MERIT COMPLETED TRAINING IN
MILITARY EM385-1-1 40 HOUR SAFETY (UCSD 9300)

AUGUST 22-26, 2011
DATE

Zo DIRECTOR, UY
: OSHA TRAINING INSTITUTE

UNIVERSITY OF CALIFORNIA, SAN DIEGO EDUCATION CENTER
DIVISION OF EXTENDED STUDIES AND PUBLIC PROGRAMS
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GCA of Hawaii

GENERAL CONTRACTORS ASSOCIATION OF HAWAII
Quality People. Quality Projects.

Certificate Of Training |

This is to certify that

ELSTON "SWEDE" STEPHENSON

has completed the course entitled | 7

Construction Safety Hazard Awareness Training for Contractors |

Given at Honolulu, Hawaii on 5-9 May, 2014

PRBS Chee tall

/ Reger A. Urbi y ¥. Higa,
Instructor Executive Vice President |
General Contractors Association of Hawai

Date of Issue: 9 May 2014

This certificate expires three (3) years from date of issue.

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Certificate Of Completion

THIS IS TO CERTIFY THAT

CWO04 Swede Elston LeMans Stephenson

Has completed the twenty-four hour Confined Space Safety course given by
Atlantic Environmental & Marine Services, Inc., designed and executed to
promote confined space safety while in shipyard and in general industrial

confined spaces, and comply with the training requirements of 29CFR1915.7 and
29 CFR1910.146, §8(g), (h), () and (j), as well as NAVSEA Iter 009-07, §3.1 “ae

Edward. J. Willwerth

Leslie Blaize
NFPA Certified Marine Chemist #586 NFPA Certifled Marine Chemist #649
ASIH Certified Industrial Hygienist #2175

FEBRUARY 4, 2011 _

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DATE _

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United States Army
Warrant Officer Career College

CW4 Elston L. Stephenson

successfully completed the

Warrant Officer Senior Staff Course 10-04
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CHARLES T. WIGGLESWORTH MARK T. JONES
CW5, AG COL, AV
Deputy Commandant ‘ Commandant
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United States Army
Warrant Officer Career College

CW4 Elston Stephenson

successfully completed the

Warrant Officer Staff Course 08-503
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CHARLES T. WIGGLESWORTH MARK T. JONES
CW5, AG COL, AV
Deputy Commandant Commandant
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 52 of 63

Joint Forces Staff College x

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wap 4 ie eth ot
is is to certify that

CW4 Elston £. Stephenson, USA

has successfully completed the requirements of the

Joint, Interagency, and Multinational Planner’s Course
24 March 2008 - 28 March 2008
Class 08-2

— €. C. Wilson
wey von S. Bagby Cieutenant General ‘U.S. Marine Corps
Major General, U.S. Army President

Commandant

Joint Forces Staff College National Defense Unitersity
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 53 of 63

United States Joint Forces Command

ELSTON STEPHENSON

has successfully completed

JTF 101 Module 11: Interagency Coordination
- Joint Certified -
IAW CJCSM 3500.03A
06/04/2009

WH tmarhe

Mr. Joe Camacho, NT-6 (GS-15)
Joint Knowledge Development and Distribution Capability
Program Manager
Case 3:19-cv-08268-DLR Document 37-4 Filed 06/17/20 Page 54 of 63

I. Agency Pusition No,
DESCRIPTION (Please Read Instructions on the Back) 92 1 -0000007 .
2. Reason for Submission 3. Service 7 Employing Office Locatlon 5. Duly Station € OPM Cenification No.
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Action
Explanation (Show any positions replaced) Exempt CNonexempt DC) fevocmae Finca starsat Yes [JNo
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a, US. Office of Per-
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b. Department.
Agency or
e Second Level
Review
d First Level Review | Safety and Occupational Health Manager GS 0018 13 jl 10/17/16
« Recommended by | Safety and Occupational Health Manager GS 0018 13
Supervisor of
[nititing Office 2
16, Orpanization Title of Position (/fdifferent from the offielal tlie) 17. Name of Employee (ifvacani, specif)
18, Department, Agency, or Establishment c, Third Subdivision
Department of the Interior Superintendent's Office
a, First Subdivision d. Fourth Subdivision
National Park Service
b. Second Subdivision e. Fifth Subdivision
Grand Canyon National Park

19. | Employee Review — This is an accurate description of the major duties Signature of Employee (optional)

and responsibilities of my position.

Supervisory Coriificatlon. J certify that this is an accurate statement of the major duties and responsibilities af this position and its organizational rclatlonships, ond
that the position is necessary to carry out Gavernment functions for which fam responsible. This certification ts made with the knowledge that this information is to be
used for statutory purposes relating to appointment and payment of public funds, and that falte or misleeding statements may constituie violatlons of such statues or
their Implementing regulations.

a, Type Name and Title of Immediate Supervisor

Brian Drapeaux, Deputy Superintendent,

20,

b. Typed Nome ond Title of Higher-Level Supervisor or Manager (epiional)

Sipnalure Date Signature Date
LSA (
21. Certiflcatlop® / certify shar this position has been 2. | Position Classification Standards Used in Classifying/Grading Position

classified/graded ax required by Title 5, U.S. Code tn conformance with standards
published by the U.S. Office of Personnel Afanagement or, if no published standards
apply directly, consistenily with the most applicable published siandards.

Typed Name and Title of Official Taking Action
Jessica Lim, HR Specialist (Classification)

Safety and Occupational Health Management Series,

GS-0018

Information for Employees, The standards, and information on their application,
are available in the personnel office. The classification of the position may be
reviewed and corrected by the agency or the U.S. Office of Personnel

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a, Employce (optional)
b. Supervisar
c. Classifier

24. Remares FPL, GS-13
25, Description of Major Duties and Responsibilities (See Attached)

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Position Description

Grand Canyon National Park

Position Title: Safety and Occupational Health Manager
Grade/Serles: GS-0018-13

Position Description #: 8211-0000007

INTRODUCTION:

The purpose of this position is to serve as the Safety and Occupational Health Manager for Grand
Canyon National Park. The position provides leadership to the Superintendent and staff of the park on
the direction, focus, and implementation of the safety, occupational health, and risk management
programs. Leads development of safety management systems and risk management strategies for
consistency of operation and evaluation throughout the extensive, geographically diverse and complex
work sites and visitation areas of Grand Canyon. The incumbent serves as the subject matter expert and
principal advisor responsible for planning, developing, directing, and coordinating the safety and
occupational health and wellness program for the park, Grand Canyon has one of the largest search and
rescue (SAR) programs in the National Park Service Involving aircraft, watercraft, and land-based
operations; an extensive concessions, administrative, and visitor infrastructure; an intensive labor
operation of over 500 employees during the peak employment season; and an annual visitation of
approximately 5 million people. Oue to the lack of a private housing market, approximately 2,000
employees, concessioner employees, and their families reside in the park. The extremes in geographical
conditions, the need to monitor unique, constantly changing work processes, and the dangers posed by
constant human/machine interaction taking place in widely varying environmental conditions make this
the most complicated risk management program in the Intermountain Region.

MAJOR OUTIES:

As Safety and Occupational Health Manager for one of the largest national parks in the National Park
System, the Manager plans, administers, and evaluates a comprehensive 24-hour a day occupational
and safety program and monitors safety performance, sets priorities, and directs safety activities for an
area spanning over 1.2 million acres with unique hazards and high public media exposure. Safety
program elements include formulation and installation of occupational health directives, prevention and
control of mishaps, fire protection, promotion of safety education, and implementation of a safety
reporting system including selective incident analysis, Serves as principle advisor to the Superintendent,
Program Managers, and their management staff, supervisors, and employees regarding structure,
content, and direction of a comprehensive, geographically dispersed risk management program.

Develops and prepares explanatory guidelines to technical safety standards and policy including
transportation, storage, and detonation of explosives, high voltage systems, crane/lift activities,
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wildland and structural fire suppression, rescue activities for employees and public visitors of high angle,
swift water, and backcountry conditions, law enforcement, emergency medical services, winter/spring
snow removal, trall maintenance, hazard tree management, fall protection, construction and retrofit
activities, mechanized equipment and work practices, solid waste and wastewater treatment, human-
wildlife interaction including endangered species, and ensuring that they are consistently applied
throughout the park.

Serves on and provides expert advice to Serious Accident Investigation Teams involving multi-agency
coordination for major incidents that result in employee and visitor fatalities, which average 10 per year,
or other serious loss producing incidents, to ascertain causal factors precipitating fatalities, serious
injuries, or substantial property damage by recommending specific investigative techniques and the
application of appropriate standards and sound safety practices for effectively conducting a
comprehensive study that fully and accurately documents final conclusions. May serve as Safety
Manager on All-Hazards Incident Command Team for national disasters (e.g., Katrina, Deep Horizon)
requiring knowledge of national Incident Command System, and requiring multi-agency coordination
across DOI, Homeland Security, FEMA, and other federal, state, and local organizations.

Responsible for developing and implementing the safety health and wellness policy that can impact
safety programs across the National Park Service, Department of Interior, multinational concessioner
corporations, and state/local governments. For example, serves as an Operational Leadership instructor
and oversees safety programs for facilities such as the Albright Training Center that are utilized by
employees across the National Park Service. Influences National Park Service policy decisions by leading
safety pilot projects including the use of electronic tracking systems, system level safety programs such
as the DuPont STOP (Safety Training Observation Program), Operational Leadership, and preventative
programs. Serves as local coordinator for safety issues involving multiple Bureaus or Agencies with
shared boundaries or offices (e.g., BLM, USFS). Coordinates with local public health officials to collect
data for Investigations in response to public health issues and collaborative prevention programs.
Assists development of policies and guidelines for service-wide national application; serves on task
forces and panels established by WASO safety as a subject matter expert to review and improve safety
and health programs that have service-wide implementations.

Is recognized nationally for directing, developing, and administering safety and occupational health
training programs. Is often called upon to provide safety expertise to other parks, Develops and
implements safety incentive programs; identifies actions to be recognized and manner of recognition.
Leads development of visitor use guidelines to reduce risk where possible while minimizing Government
liability for water and winter sports, fishing, horseback riding, backcountry hiking and camping, bicycling,
and front country use. Is the primary safety representative for measuring and evaluating reports that
recommend management process improvements to correct or minimize deficiencies and to achieve and
maintain compliance with NPS regulations and standards, executive orders and effect on safety and
occupational health of employees and visitors. Directs Implementation of Director's Order 50-A Worker
Compensation Program (WCP) and leads case management for 70 plus cases per year. .
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Plans, organizes, and administers a scheduled series of comprehensive inspections of numerous facilities
for storage of explosives, flammable gases and hazardous chemicals, vehicle maintenance (aircraft,
watercraft, heavy equipment, and motor vehicles), carpentry, welding, painting, metal shops, and major
warehouses. Serves as the subject matter expert and technical authority for safety and occupational
health affecting more than 100 occupations in a variety of indoor and outdoor work settings and under
extreme working conditions.

Conducts frequent safety surveys of over $1 billion in infrastructure which includes over 1,200 buildings,
over 250 miles of roads, and 4 sewage treatment facilities to ensure safety standards are met and to
develop mitigation strategies or implement safety measures to minimize risk and be compliant with laws
and regulations. Reviews with full decision authority all NPS safety plans and drawings, concession and
contracted construction projects for compliance with health and safety codes, and NFPA Life Safety
Codes and for compatibility with environment conditions; coordinates with National Park Service
concession management staff to ensure implementation of park safety programs for 22 separate
concession operations. Integrates activities with appropriate agency and government officials on
hazardous waste management program implementation for OSHA and EPA requirements and related
laws. Adapts guidelines for removal of hazardous waste In remote inner canyon areas under extreme
conditions.

Directs development of operational guidelines where existing codes and standards are not applicable,
have not been adopted, or do not exist, often requiring policy changes with service-wide implications.
Interprets codes, standards, guidelines, and regulations and uses practical and theoretical approaches to
determine their applicability to specific situations of concern, which can lead to substantive changes to
the program, Oversees an assessment program for conducting management evaluations of the park's
safety and occupational health systems to control and/or mitigate hazardous working environments
including preventing and controlling wildlife related diseases such as norovirus and tick-borne Relapsing
Fever, heat stress, noise, asbestos, carbon monoxide, welding fumes, silica dust, solvent vapors, oxygen
deficient atmospheres, toxic and explosive gases, UV, radon, and uranium radiation, waterborne
diseases, blood borne pathogens, AIDS and Hepatitis B viruses, and chemical hazards.

Provides leadership and direction for development and implementation of risk management systems,
strategic plans, processes and guidelines for:

1) Identifying new techniques, methods and processes for safety and risk management;

2) Preventing injury and death for NPS employees and associates (including contractors, concesslonalres
and volunteers), and the public on park properties;

3) Controlling and eliminating unsafe conditions and unsafe work practices that could otherwise cause
personal injury and damage or destruction to park properties.

Oversees and coordinates the activitles of the Employee Safety Committee (ESC). The primary function
of the ESC is to assist management in implementing Operational Leadership at Grand Canyon National
Park. The purpose of the ESC is to provide leadership in the development, implementation, education,
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and involvement in safety with employees through direct engagement with employees, training, and
education; providing a forum for employee input and concerns, improving communications between
employees arid management, and reinforcing the need for all employees to look out for one another
and work together as a team.

FACTORS

1. Knowledge and Skills Required by the Position:

Expert knowledge of occupational safety and health management principles, procedures, and practices,
body of laws, regulations, codes, standards, and precedent decisions applicable to high safety risk
aircraft maintenance and repair, transportation, storage and use of explosives and flammable/toxic
gases that bear on complex safety functions sufficient to plan, develop, implement or extend
appropriate service-wide safety and health system, processes, programs, and hazard control techniques
to minimize or eliminate unsafe operations/conditions in a major system of National Parks and
Monuments. Broad knowledge and understanding of the NPS mission, philosophy, policy and
guldelines; and Federal government administrative processes.

In-depth knowledge sufficient for effective risk mitigation and management for activities with
Inadequate or absent safety and risk standards, for example: permissible mold exposure levels,
predatory animals, farming, vector-borne diseases (e.g. Hanta Virus, Plague), high angle work fall
prevention, excessive heat exposure, Africanized bees, stock use, personal security in remote areas,
whitewater operations, snowmobile operations, abandoned uranium mines, bicycle use, and off-road
vehicle use.

Advanced knowledge of unique search and rescue procedures such as helicopter, swift-water boat, and
backcountry trall operations to evaluate a range of proposed maneuvers including use of heavy
equipment/vehicles, and night Search and Rescue personnel movements over extremely rough terrain
and extreme environmental conditions.

Expert knowledge of the methads, techniques, and procedures of industrial work processes, work
practices of specialized warehousing, maintenance, and materials handling, and fire protection and
suppression trades sufficient to evaluate the programs, operations, facilities, equipment, and
procedures and to recommend and implement new techniques/methods to minimize risk of human-
machine and human-wildlife interactions

In-depth knowledge of laws and procedures pertalning to hazardous chemicals and hazardous waste
management and waste minimization programs, Knowledge of related environmental health fields,
such as public health and environmental protection (air and water pollution, pesticide control, drinking
water, and food sanitation).

In-depth knowledge of Concessioner safety policies, practices and codes, some of which are
multinational corporations (e.g Xanterra), sufficient to coordinate and Integrate Federal-Concessioner
employee Interactions and operations of concessioner facilities and services as applicable to safety and
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risk management. For example: hotel/restaurant management/food safety; transportation of visitors by
bus, van, helicopter, whitewater boat, and mule; knowledge of applicable laws and codes for operation,
renovation, and construction of Park structures; and coordination of commercial use permits to ensure
public safety and health.

Expert knowledge of human related environmental factors within the diverse settings of the park such
as uranium mining sites and superfund cleanup sites. Incumbent must be knowledgeable of the location
and status of over 2,100 uranium mining claims and dozens of exploration sites distributed across over
one million acres of northern Arizona watersheds, the physical distribution of related hazards, and their
effects over time and to working conditions for employees and visitors to the park.

Highly developed skill In defining and implementing park-wide policies and procedures to mitigate
human-machine interaction risks occurring from activities such as high explosives detonation (blasting),
winter/spring snow removal, trall maintenance in highly exposed areas, waterline maintenance in
extremely exposed areas (e.g., greater than 1,000 foot drop-offs), hazard tree management, fall
protection, construction and retrofit activities, mechanized equipment and work practices, solid waste
and wastewater treatment, high voltage systems, crane/lift activities, human wildlife interaction
including endangered species, wildland and structural fire suppression, aircraft operations both fixed
wing and rotor, law enforcement, emergency medical services, and rescue activities of high angle and
swift water.

Expert knowledge and competence in safety requirements and considerations for personal protective
equipment (PPE) use, major construction, heavy equipment, hazardous substances, powered machinery
and tools, vehicles, law enforcement, fire control, rescue, EMS, material handling, fire protection
systems, laboratories, and trades and crafts common to the National Park Service. Thorough, in-depth
knowledge of a wide range of safety products and their uses and limitations in order to identify and
justify improvements over present equipment, or to motivate use of present equipment.

Detailed knowledge of and skill in accident investigation processes and ability to influence diverse
stakeholders across Parks and Regions to gain access to information and people to effectively coordinate
a widespread investigation or response across multiple park. Comprehensive knowledge of the accident
(injury) reporting system required by the U.S. Department of Labor, the Federal Incident Command
System, the Federal Employees’ Compensation Act that covers such injuries and Illnesses; and
knowledge of the Federal Tort Claims Act-to complete required investigation evaluatian, and
documentation, and skill in data (statistics) systems design, compilation, analysis, and presentation.

Highly developed skill and ability to inspect and identify unsafe mechanical/physical conditions and work
practices In a wide variety of high risk activities, including the ability to develop sound resolution plans.
Skill In developing and implementing park-wide pollcies and procedures to protect the safety and health
of high profile public figures visiting the Park, such as high ranking domestic and foreign government
officials, business leaders, and celebrities. Ability to coordinate efforts with Law Enforcement and Public
Safety, security personnel such as Secret Service and others as needed.
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2, Supervisory Controls

Receives supervision from the (SES) Superintendent's Office, who assigns overall objectives and
authorizes support resources. The safety and occupational health manager and supervisor develop
specific work requirements and due dates for the completed work. The safety and occupational health
program is planned and carried out by the incumbent who Interprets and applies safety directives and
regulations consistent with general objectives, with wide latitude for independent action and exercise of
initiative in making decisions, directing subject matter specialists as needed. Authority for resolution of
complex or difficult problems Is delegated by the supervisor. Completed work Is reviewed for
compatibility with agency policies and achievement of objectives. Incumbent exercises full technical
and administrative independence in recognizing and responding to safety problems park-wide.
incumbent identifies and directs management emphasis toward excellence In safety by developing,
recommending, and applying quality management processes and techniques directed towards
management improvement. There is full independence to influence the establishment of safety as a
park priority to achieve positive results. All recommendations and plans are considered technically
sound and accepted without significant change. Review is only in terms of evaluating the effectiveness
of recommendations, conformance to policy, or accomplishment of objectives.

3. Guidelines

Guidelines consist of a broad range of technical material including directives, regulations, public laws,
safety administration manuals, textbook, technical data sheets, statutory manuals of applicable
legislation; safety rules and procedures, policy statements; Executive Orders; procedural guidelines; and
consensus standards such as ANSI (American National Standards Institute), and NFPA (National Fire
Protections Association). The manager must exercise judgment and initiative in developing new safety
criteria where existing codes and standards are not applicable, have not been adopted, or do not exist,
often requiring policy changes with service-wide implications; for example, permissible mold exposure
levels, predatory animals, farming, vector-borne diseases (e.g. Hanta Virus, Plague), high angle work fall
preventions, excessive heat exposure, Africanized bees, stock use, personal security in remote areas,
whitewater operations, snowmobile operations, abandoned uranium mines, bicycle use, and off-road
vehicle use. Sound professional judgment and resourcefulness must be exercised to search for, select,
interpret, and frequently adapt guidelines for safety management, and in drawing conclusions. Sound
judgment and ingenuity are required to continually improve upon established methods and practices.
Guidelines and procedures will be established by incumbent where none exist, or are reconciled by
incumbent where existing procedures prevent the accomplishment of a given safety project, objective,
or task.

4. Complexity

The safety and occupational health manager Is responsible for planning, organizing, directing,
coordinating, and implementing a complex, difficult, 24-hour a day park wide safety management
program for a broad occupational field involving a wide variety of changing, highly hazardous work and
operational problems, unique, non-conventional operations, environmental conditions, and dangerous
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materials for system focused on identifying and improving the management of human, physical, and
organizational systems, the prevention of property or time loss, and/or injury to employees and visitors.
Incumbent devises new analytical procedures to identify and assess hazards in aircraft maintenance,
search and rescue operations, high explosive detonation, exposed trail and pipeline maintenance
activities in extremely rough terrain and environmental conditions, and fire protection requirements.
The manager innovates and applies safety and occupational health procedures to resolve highly
hazardous conditions and prescribes specialized safety practices to minimize the degree of risk to
employees, visitors, concessionaires, and property.

Due to the unique characteristics of the geographically dispersed Grand Canyon National Park including
cultural considerations and sensitivities, some work areas are located in isolated communities with well-
established cultural norms that impact safety efforts, requiring deep knowledge of various Native
American communities, each with very different cultural norms and customs as related to safety and
health. The incumbent must have the capability to communicate safety issues effectively to a broadly
diverse audience and ability to influence local community officials to effectively implement safety
programs,

This position requires analysis of complex risks and development of creative solutions for safety
requirements that are often in direct conflict with the National Park Service mission. For example, the
incumbent will be required to develop and implement strategies to mitigate safety hazards and conform
to National Fire Prevention Association (NFPA) and Occupational Safety and Health Association (OSHA)
standards for over 860 historical (aging) buildings without altering building structure and compromising
historical status; the incumbent will also develop safe trail and structure maintenance operating plans
including proper work/rest ratios in areas with minimum tool requirements causing personnel to
perform excessive manual labor over what would be required under conditions outside of the Parks
(e.g., on trails requiring rock or building structure removal where use of a crane would be preferred over
heavy human labor).

Because 40% of the approximately 5 million annual visitors are fram other countries, international
public health issues pose a significant risk and require current knowledge of international public health
issues and status to mitigate spread of international infectious diseases and viruses to employees and
visitors such as H1N1 Influenza, Nile Virus, Hantavirus, Avian Flu, and Norovirus,

5. Scope and Effect

The purpose of the position Is to provide comprehensive safety and occupational health services which
include the assessment of complex safety program elements resulting from park operation
requirements to ensure safety of personnel and visitors during search and rescue operations,
backcountry use and maintenance in extreme environments, aircraft and watercraft operations, heavy
equipment operation, construction and firefighting activities. The work requires the planning and
implementation of safety actions and procedures Involving a range of alternative courses of action to
eliminate or control hazardous environmental and operational conditions. Program results affect the
safe and effective utilization of a large-scale network of cultural, economic, and natural resources, The
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work directly influences long-range and major management decisions in project planning and
implementation, as well as final design of park facilities.

The Incumbent Is responsible for safe operations of a very large infrastructure Including over 1,200
structures, over 860 historical or aging buildings, potentially 50,000 archeological sites, 4 sewage
treatment facilities, and a 23 mile transcanyon water pipeline with over 500 employees and 5 million
international and domestic public visitors per year with high public media exposure, community use
buildings such as child care facilitles, recreation centers, K-12 schools, banks, post offices, and
Concessionaire buildings. The incumbent's responsibility area includes very diverse geologic and
environmental features with a broad range of environmental effects including some of the most
extreme working conditions in the Park Service such as broad seasonal fluctuations Including extreme
heat and aridity in summertime with temperatures in excess of 120 degrees Fahrenheit and summer
Monsoon flash-flooding to icy and snowy trails and frequent hypothermia hazards In the wintertime,
and extremely arid environment, extraordinarily steep and rough terrain, and high risk of exposure to
falls ranging from a few feet to greater than one thousand feet, and extremely high annual visitor usage
rates including nearly 100,000 visitor-use days on over 400 miles of backcountry trails, 230,000 visitor
use days on the Colorado River, and construction projects located alang fault lines, eroding surface
material, and within potential flash flood and rock fall trajectories. Due to the visibility of Grand Canyon
this position Influences International Park safety policy decisions by interacting and sharing best
practices with international Sister parks In countries such as China, Mexico, Taiwan, and Australia,

A broad range of safety hazards require mitigation for operations including aver 300 backcountry search
and rescue missions annually for the Preventative Search and Rescue (PSAR) program, the largest and
most complex of its kind In the Park Service; swift water rescue missions in the Colorado River including
long lining rescue personnel from helicopters; carpentry and maintenance hazards in the high visitor-
use areas of the Park; and hazards due to high-volume mule operations for approximately 22,000 visitor
backcountry mule rides annually.

Incumbent directs a safety and occupational health program that sets the standards and requirements
for all contracting companies such as construction, maintenance, and concessions contractors,
impacting safe working conditions for several thousand government employees and government
contractors. Requires advance coordination and partnering with concessionaires and contractor
companies to set, coordinate, and safety policies and emergency response operations, For example,
incumbent influences Park Officials’ ability to stop contractor work when an unsafe aperating procedure
is observed, requiring complex Judgment in weighing options that could simultaneously impact safety of
personnel and contractual obligations of the contractor.

6. Personal Contacts:

Contacts in person and/or via phone, mail and electronic mail are with Park, Regional, Washington staff,
line and Safety Program management, park employees, Superintendents and park managers, project
managers, law enforcement and public safety personnel, members of the public, Native American tribes
and reservations, officials of international, federal, state and local government such as occupational
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safety and health community including members af Occupational Safety and Health Administration
(OSHA), Center for Disease Control (CDC), NPS Public Health, and Health and Human Services (HHS).
Incumbent also has contacts with concession managers, Insurance firms, lawyers, schools, laboratories,
third parties in tort cases suppliers of safety products, professional organizations, libraries, and other
community groups.

7. Purpose of Contacts

Contacts are for the purpose of influencing the establishment and accomplishment of annual safety
goals and objectives, motivating appropriate park and service-wide Programmatic and Policy decisions
and implementation, persuading and negotiating differences of opinion, motivating personnel to gain
program support and compliance, gain input during process or system development, providing
consultation service to parks, conducting Injury investigations, coordinating of tort claim adjudications,
conducting employee training, management of statistical programs, promoting incentive systems,
evaluating of safety engineering projects (construction and rehabilitation), conducting evaluations and
audits of safety systems; encouraging compliance with agency standards and regulations, maintenance
of literature distribution and technical library services, implementing legislative changes, establishing
records system, and writing and publishing safety news on a variety of subjects. Contacts are to
communicate an effective safety management system, identify and influence or persuade action(s) to
alleviate or correct actual or potential hazards, Frequently, contacts are to influence management
decision/action which has major impacts upon operational plans, projects and management systems.

8. Physical Demands

The work requires inspection of a wide variety of field sites and a wide variety of physical structures In
extreme environments and rough terrain. Requirements include lifting, walking, bending, crouching,
reaching, or other similar physical activities normally found in routine office type environment. The
scope and volume of work will cause an average mental stress level under a routine workload to a
medium stress level under a heavy load of several priority projects being in motion at the same time,
Physical exertion will be required on field trips involving investigations, inspecting, and operation
evaluation. Work requires routine outdoor physical exertion activities such as walking, sitting, bending
stooping, crouching, jumping, climbing, lifting light objects, stretching, or reaching. The work requires
travel ina variety of aircraft and watercraft and occasional exposure to hazardous environments.
Encounters high altitudes, temperatures In excess of 120 degrees and below O degrees Fahrenheit, steep
and rugged trails, and the roughest white water rapids in North America.

9. Work Environment

The work requires inspections both indoors and outdoors and can range from well lighted, spaced, and
temperature controlled offices to wilderness surroundings under natural light and uncontrolled
temperature extremes, On-site visits require exposure to operating machines and equipment, moving
parts, irritant chemicals, hazardous materials, high noise levels, hazardous fumes and dusts, and other
hazardous occupational environments. As such incumbent |s expected to conduct duties in a safe and
orderly manner so as not to endanger self, fellow workers, or property.
